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        EXHIBIT A
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                            MARK N. HORENSTEIN, Ph.D., P.E.
                           40 Hastings St., West Roxbury, MA 02132
                           Tel: (617)-353-9052 mhoren@mhoren.net

Areas of Expertise
Analog and Digital Circuits, Design, Semiconductor Devices, Applied Electromagnetics,
Power Electronics, Electrostatic Processes, Alternative Energy

Education
Massachusetts Institute of Technology Ph.D. Electrical Engineering                 1978
(Electric Power Systems Engineering Laboratory)

University of California at Berkeley M.S. Electrical Engineering                    1975
(Solid State Optics Laboratory)

Massachusetts Institute of Technology S.B. Electrical Engineering                  1973

Employment History
Boston University
       Professor, Dept. of Electrical and Computer Engineering                    2000 - present
       Associate Chair for Undergraduate Programs - ECE Department                2011-2015
       Associate Dean for Graduate Programs and Research, Engineering             1999 - 2007
       Associate Professor, Dept. of Electrical and Computer Engineering          1985 - 2000
       Assistant Professor, Dept. of Electrical and Computer Engineering          1979 - 1985

Spire Corporation
       Research Scientist in High-Voltage Pulsed-Power Division                   1978 - 1979

Professional Affiliations
       Institute of Electrical and Electronic Engineers (Elevated to IEEE Fellow “for
           contributions to the modeling and measurements of electrostatics in industrial
           processes.”)
       Registered Professional Engineer - Electrical (Commonwealth of Massachusetts)
       National Association of Radio and Telecommunications Engineers (Certified
           Electrostatic Discharge Engineer)
       Electrostatics Society of America (Past President and Life Member)
       Journal of Electrostatics (Editor Emeritus)

Current Research Activities
      Self-Cleaning Solar Panels via Electrostatic Electrodynamic Screen
      Ultra-Sensitive Low-Noise Electric Field Mill
      High-Voltage Multiplexing Circuit for Large-Array MEMS Mirrors

Teaching Experience
Electric Circuits, Electronics, Power Electronics, Electromagnetics, Engineering Design



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Prior Expert Witness & Litigation

Summary:

As of 12/1/ 2017: 49 Cases, 33 Depositions, 6 Jury Trials, 5 ITC Cases, 3 Bench Trials

Reports Filed and/or Expert Testimony Given:
(Law Firm, Principal Attorney)

       Monolithic Power Systems, Inc. v. O2 Micro International Ltd.
       U.S. District Court for the Northern District of California. Civil Action No. 04CV2000
       and 06CV2929
       Matter: Integrated Circuits for Driving CCFLs
       Worked on behalf of Defendant Monolithic Power Systems
       Status: Jury finding in favor of MPS, based in part on my testimony

       UPI v. Richtek Corp.
       U.S. International Trade Commission Inv. No. 337-TA-698
       Matter: Integrated Circuits for Power Applications
       Worked on behalf of Richtek USA
       Expert reports, deposition, testimony at hearing
       Status: Decision in favor of Richtek, based in part on my testimony

       O2 Micro International v. Hon Hai Precision Industry Co., et al
       U.S. District Court for the Eastern District of Texas
       Matter: Integrated Circuits for Driving CCFLs
       Worked on behalf of Defendant Hon-Hai
       Status: Summary judgment granted in favor of Hon Hai, based in part on my testimony

       Philips v. Wangs Alliance Corporation
       Matter: LED Lighting Circuits
       Working on behalf of WAC
       Status: Settled

       LED Tech Development v. Samsung Electronics
       Request for Inter Partes Review of US Patent 6,488,390
       Matter: Circuits for maintaining constant flashlight illumination with battery discharge
       Worked on Behalf of Requestor Samsung
       Expert declarations, claim construction declaration

       Superior Communications v. Voltstar Technology
       Request for Inter Partes Review of U.S. Patent 7,910,833
       Matter: Energy -Saving Chargers and Power Adapters
       Working on behalf of Requestor Superior
       Status: In Progress



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Hopkins Manufacturing v. Cequent Performance Products
Request for Inter Partes Review of US Patents 6,012,780, 6,068,352, and 6,445,993
Matter: Electronic Brake Controllers for Vehicle Trailers
Worked on behalf of Requestor Hopkins: Expert declarations, deposition
Status: Settled

IV v. Ricoh, Inc.
Matter: Scanners and Copiers
Worked on behalf of Plaintiff Intellectual Ventures
Claim construction briefs, expert reports on infringement and validity, deposition
Status: Pre-trial settlement

IV v Canon Inc.
Matter: Scanners and Copiers Re: US Patents
Worked on behalf of Plaintiff Intellectual Ventures
Claim construction briefs, expert reports on infringement and validity, deposition
Status: Pre-trial settlement

Global Touch v. Microsoft et al
Request for Inter Partes Review of Multiple US Patents, (e.g.: US Patent 7,994,726,
IPR2015-01147; US Patent 7,498,749, IPR 2015-01148; US Patent 7,329,970,
IPR2015-01149)
Matter: Touch-sensitive and proximity switches
Worked on Behalf of Requestor Microsoft
Expert declarations, claim construction declarations, depositions.
Status: Institution on majority of IPR requests

Broad Ocean LLC v. Nidec Corp
Request for Inter Partes Review of US Patent 7,990,092
Matter: HVAC Controls
Worked on Behalf of Patent Owner Nidec
Expert declaration, deposition.
Status: Pending

OS. Security v. BRK Brands
U.S. District Court for the Central District of California
Matter: Circuits for Electronic Safe Locks
Worked on Behalf of Defendant BRK Brands
Expert report.
Status: Settled in favor of BRK Brands. Feedback was that my input and argument was
key to timely settlement.

Shenzhen El Lighting Technology v. Surefire Electrical Corp.
Request for Inter Partes Review of US Patent 7,671,279
Matter: “Current-See” Cables for Mobile Device Chargers


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Worked on Behalf of Requestor Surefire
Expert declarations, claim construction declaration
Status: Pending

ITRI v. LG Electronics
U.S. District Court of New Jersey
Matter: DVD Read and Write Heads
Worked on behalf of Defendant LG Electronics
Expert reports; claim construction declarations.
Status: Pre-trial settlement

ITRI v. LG Electronics
Request for Inter Partes Review of US Patent 7,672,198
Worked on Behalf of Requestor LG Expert declarations

L-3 Communications v. Jaxon Engineering
District Court of Colorado
Matter: Circuits for producing High-Voltage Pulses for HEMP Testing
Worked on behalf of Defendant Jaxon
Expert report, deposition
Status: Pre-trial settlement

Re Matter of the Fort Totten Metrorail Cases Arising Out of the Events of June 22, 2009
United States District Court for the District of Columbia
Natl. Transportation Safety Board Accident Number DCA-09-MR-007
Matter: Audio Track Detection Circuits
Worked on behalf of Defendant Ansaldo
Expert reports, deposition
Status: Pre-trial settlement

Server Technology, Inc. v. American Power Conversion Corporation,
United States District Court, District Of Nevada
Matter: Intelligent Power Distribution Units
Worked on behalf of Defendant American Power Corporation
Expert reports, deposition, testimony at trial
Status: Mixed finding

Clearwater Dolphin Corp. v. Evapco, Inc.
U.S. District Court for the District of Connecticut C3:05cv507 (SRU)
Matter: Electrical Water Treatment Devices
Worked on behalf of Plaintiff Clearwater Dolphin
Status: Summary judgment granted in favor of Evapco

Pass & Seymour v. Shanghai Meihao Electric Inc. et al.
U.S. International Trade Commission Inv. No. 337TA615
Matter: Ground Fault Circuit Interrupters (GFCIs)


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Worked on behalf of Respondent Shanghai Meihao
Status: Hearing Completed in favor of P&S

Pass & Seymour v. Hubbell Inc. et al.
United States District Court Northern District of New York 5:07Cv00945
Matter: Ground Fault Circuit Interrupters (GFCIs)
Worked on behalf of Defendant Hubbell
Status: Settled

Qimonda AG v. Seagate Technology, et al.
U.S. International Trade Commission Inv. No. 337TA665
Matter: Circuits for computer circuitry
Worked on behalf of Defendant Seagate
Status: Hearing Completed; finding in favor of Seagate, based in part on my testimony

Bushnell Inc., et al. v. The Brunton Company
 Preliminary Injunction Hearing: US District Court for the District of Kansas No.
2:09cv2009 KHV/JPO
Matter: Laser Range Finders
Worked on behalf of Plaintiff Bushnell
Status: Injunction Granted, based in part on my testimony

Technical Witts, Inc. v. Skynet Electronic Co., Ltd, et al.
US District Court for the District of Arizona. CV042025PCTMHM
Status: Summary Judgment Granted in favor of Skynet
Matter: Switching Power Supplies
Worked on behalf of Defendant Skynet

Belden Technologies and Belden CDT v. Superior Essex/ Superior Essex Commun.
Court for the District of Delaware 1:08cv0063SLR
Matter: Data Communication Cables
Worked on behalf of Plaintiff Belden
Status: Jury Trial Completed; mixed finding

Motorola v. Research in Motion
U.S. International Trade Commission, Inv. No. 337TA706
Matter: Battery Charging Circuits
Worked on behalf of Defendant Motorola; Status: Settled

LINQ Industrial Fabrics vs. Intertape Polymer,
Court for the District of Tampa.
Matter: Electrostatics of Flexible Intermediate Bag Containers (FIBC)
Worked on behalf of Plaintiff LINQ
Status: Jury Trial Completed in favor of LINQ, based largely on my testimony

Thompson v BenQ,


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      U.S. International Trade Commission.
      Matter: Switching power supplies and ac-to-dc power converters.
      Worked on behalf of Defendant BenQ
      Status: Hearing Completed in favor of BenQ, based largely on my testimony

      Power Integrations v. ST-Microelectronics,
      U.S. International Trade Commission.
      Matter: Switching power supplies and ac-to-dc power converters.
      Worked on behalf of Defendant STMicro
      Status: Hearing Completed in favor of Power Integrations

      Clearwater Dolphin Corp. v. Evapco, Inc.
      U.S. District Court for the District of Connecticut – Trade Secret deliberation
      Matter: Electrical Water Treatment Devices
      Worked on behalf of Plaintiff Clearwater Dolphin
      Status: Summary judgment granted in favor of Evapco

      MKS vs American Power
      US District Court of Delaware
      Matter: Electrical matching network power supplies.
      Worked on behalf of plaintiff MKS
      Status: Jury Trial Completed in favor of MKS, based in part on my testimony

      WorldHeart vs. Abiomed
      US District Court of Delaware – Trade Secret Litigation
      Matter: Power conversion for total artificial human heart.
      Worked on behalf of Defendant Abiomed.
      Status: Jury Trial Completed in favor of Abiomed, based largely on my testimony

Research Grants (Under Boston University)

      In-Air Electric-Field Sensor Circuit for Airborne Applications - U.S. Navy STTR Phase
      I: N68335-15-C-0271 via White River Technologies. (Subject: Electric Field-Mill UAV
      Sensor)

      Development of Prototype Self-Cleaning Solar: Massachusetts Clean Energy Center
      (Subject: Self-Cleaning Solar Collectors)

      Self-Cleaning Solar Panels: US–Israel Binational Science Foundation
      (Subject: Self-Cleaning Solar Collectors)

      Enhancement of Optical Efficiency of CSP – U.S. Dept. of Energy
      (Subject: Self-Cleaning Solar Collectors)

      Compact Low-Power Driver for Deformable Mirror – NASA via Boston Micromachines
      (Subject: High Voltage MEMS Driver for Adaptive Optics)


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Technical Consultations

         Boston Micromachines (MEMS circuit design)
         Griswold, Inc. (HVAC water treatment device design)

Publications

Books:
         M. N. Horenstein, Design Concepts for Engineers, 5thEd., Upper Saddle River, NJ:
         Prentice Hall, 2015.

         M. N. Horenstein, Microelectronic Circuits and Devices, 2nd Ed. Upper Saddle River, NJ:
         Prentice Hall, 1995

Journals Articles:
      Sayyah A, Horenstein MN, Mazumder MK, Ahmadi G, “Electrostatic Force Distribution
      on an Electrodynamic Screen,” Journal of Electrostatics 81:24-36 Jun 2016

         Sayyah A, Horenstein MN, Mazumder MK, “A Comprehensive Analysis of the Electric
         Field Distribution in an Electrodynamic Screen, Journal of Electrostatics 76:115-126
         Aug 2015

         Mazumder MK, Stark JW, Heiling C, Liu M, Bernard A, Horenstein MN, Garner S, Lin
         HY, “Development of Transparent Electrodynamic Screens on Ultrathin Flexible Glass
         Film Substrates for Retrofitting Solar Panels and Mirrors for Self-Cleaning Function,
         MRS Advances 1(15):1003-1012 2016

         Dai S, Knepper RW, Horenstein MN, “ 300-V LDMOS Analog-Multiplexed Driver for
         MEMS Devices, ” IEEE Transactions On Circuits And Systems I-Regular Papers
         62(12):2806-2816 Dec 2015
         A. Sayyah, M.N. Horenstein, M.K. Mazumder, "Energy yield loss caused by dust
         deposition on photovoltaic panels", Solar Energy, v 107, p 576-604, Sept. 2014.

         M. N. Horenstein, M. K. Mazumder, R. C. Sumner, J.W. Stark, T. Abuhamed, R.
         Boxman, "Modeling of trajectories in an electrodynamic screen for obtaining maximum
         particle removal efficiency", IEEE Transactions on Industry Applications, v 49, n 2, p
         707-13, March-April 2013.

         Klausner, A., Trachtenberg, A.; Starobinski, D.; Horenstein, M., "An Overview of the
         Capabilities and Limitations of Smartphone Sensors", Int.. Jour of Handheld Computing
         Research, v 4, n 2, p 69-80, April-June 2013

         Mazumder, M. Horenstein, M.N.; Stark, J.W.; Girouard, P.; Sumner, R.; Henderson, B.;
         Sadder, O.; Hidetaka, I.; Biris, A.S.; Sharma, R., "Characterization of Electrodynamic
         Screen Performance for Dust Removal from Solar Panels and Solar Hydrogen
         Generators", IEEE Transactions on Industry Applications, v 49, n 4, p 1793-800, July-

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       Aug. 2013

       Horenstein, M.N., Mazumder, M.; Sumner, R.C., Jr., "Predicting particle trajectories on
       an electrodynamic screen - theory and experiment" J. of Electrostatics, v 71, n 3, p 185-8,
       June 2013

       Mazumder, M.; Horenstein, M.N.; Stark, J.W.; Girouard, P.; Sumner, R.; Henderson, B.;
       Sadder, O.; Hidetaka, I.; Biris, A.S.; Sharma, R. "Characterization of Electrodynamic
       Screen Performance for Dust Removal from Solar Panels and Solar Hydrogen
       Generators" IEEE Transactions on Ind. Applications, Volume: 49, Issue: 4, 2013

       Horenstein, M.N.; Sumner, R.; Miller, P.; Bifano, T.; Stewart, J.; Cornelissen, S.,
       "Ultralow-power multiplexed electronic driver for high resolution deformable mirror
       systems", Proceedings of the SPIE v 7930, p 79300M, 2011.

       Horenstein, M.N., A Simulation Model for Understanding Propagating Brush Discharges:
       Comparison of Theory and Experiments, IEEE Trans. on Ind. Applications, 47(1), 2011,
       344 - 349.

       Mazumder, M.K., Srirama, P.K., Sharma, R; Biris, A.S., Hidetaka, I, Trigwell, S,
       Horenstein, M.N, Lunar and Martian Dust Dynamics, IEEE Industry Applications
       Magazine, 16 (4), 2010, 14-21.

       M. Horenstein, Electrostatics of Nanoparticles: What's the Same, What's different?
       Journal of Electrostatics, 67 (2-3), May 2009, pp 384-393

       M. Horenstein and M. Datta, "The Electrostatics of Charged Insulating Sheets Peeled
       From Grounded Conductors", J. of Physics: Conference Series 142 (2008) 012076
       (refereed publication)

       T. Sugimoto, K. Nonaka, and M. Horenstein, "Bidirectional electrostatic actuator
       operated with charge control" Journal of Microelectromechanical Systems, v 14, n 4,
       Aug. 2005, p 718-24.

       J. C. Crager and M.N. Horenstein, "Distributed Parameter Model for Computing Energy
       Dissipation in Brush-Type Electrostatic Discharges," Journal of Electrostatics, 63
       (2005), 239-247.

       J.C. Crager and M.N. Horenstein, "Measurement of Optical Intensity and Fluence
       Generated by Spark Discharges", Electrostatics 2003: Institute of Physics (UK) Conf.
       Series, (178)149-154 2004



Patents:
       P. Horn, M. Horenstein, and D. Parent. "Air Distributing and Ionizing Systems."


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(US Patent 5,491,602)

M. Horenstein, "Method and Apparatus for Detecting Leaks in Electrically-Insulative
Protective Articles such as Condoms, Surgical Gloves, and the Like Using Gaseous
Electrostatic Ions." (US Patent 5,455,507)

Jackson and M. Horenstein, "Nasopharyngealometric Apparatus and Method" (US Patent
5,316,002)

T. Bifano and M. Horenstein, "MEMS-based spatial-light modulator with integrated
electronics"(US Patent 6,529,311)

Method for Linearizing Deflection of a MEMS Device Using Binary Electrodes and
Voltage Modulation (US Patent 7385268)




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